14 F.3d 595
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Paul Lee MARTIN, Plaintiff-Appellant,v.Arnold COFFEY, Captain, Defendants-Appellees.
    No. 93-6962.
    United States Court of Appeals, Fourth Circuit.
    Dec. 8, 1993.
    
      William Sampson Kerr, Appomattox, VA.
      W.D.Va.
      AFFIRMED.
      PER CURIAM:
    
    
      1
      Appellant appeals from the magistrate judge's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  Our review of the record and the magistrate judge's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the magistrate judge.  Martin v. Cox, No. CA-93-466-R (W.D. Va.  Aug. 11, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    